Case 2:90-cv-00520-KJM-SCR   Document 7523-2   Filed 04/07/22   Page 1 of 4




    EXHIBIT B
        Case 2:90-cv-00520-KJM-SCR            Document 7523-2         Filed 04/07/22     Page 2 of 4

XAVIER BECERRA                                                                  State of California
Attorney General                                                        DEPARTMENT OF JUSTICE
                                                                                          1300 I STREET, SUITE 125
                                                                                                   P.O. BOX 944255
                                                                                      SACRAMENTO, CA 94244-2550

                                                                                            Public: (916) 445-9555
                                                                                        Telephone: (916) 210-7318
                                                                                         Facsimile: (916) 324-5205
                                                                                    E-Mail: Elise.Thorn@doj.ca.gov

                                             November 30, 2020

      Via Electronic Mail

      Matthew A. Lopes, Jr.
      Special Master
      Pannone Lopes Devereaux & O’Gara, LLC
      Northwoods Office Park
      1301 Atwood Avenue, Suite 215 N
      Johnston, RI 02919

      RE:    Coleman, et. al. v. Newsom, et al.,
             U.S. District Court, Eastern District of California, Case No. 2:90-cv-00520 KJM-DB

      Dear Special Master Lopes:

              Defendants write to express their concerns regarding the scope and pace of the work
      being performed by the Special Master’s data expert, Dr. Daniel Potter, to address data issues
      raised in the Court’s orders and your June 2020 report. We understand that Dr. Potter will
      provide an update on data issues at the next COVID-19 Task Force meeting scheduled for
      December 1, 2020. Defendants appreciate the opportunity to hear an update from Dr. Potter, and
      provide the comments below regarding information that they believe is needed to respond to the
      Court’s order and at the December 18 quarterly status conference.

              Based on Defendants’ understanding of the work performed by Dr. Potter over the last
      six months, it appears that he may be exceeding the scope of his initial appointment and the
      Court’s orders concerning the data issues and related remedies following the Golding
      investigation. Also, based on our review of his detailed time statements, it appears that Dr.
      Potter’s work lacks focus and any set parameters. We seek additional details on what he intends
      to accomplish as your data expert. As you know, the Court has ordered “all stakeholders to be
      fully prepared at the time of the December 18, 2020 status conference to set a firm schedule for
      completion of necessary data and quality assurance remediation.” (ECF No. 6847.)

              Both your request to hire a data expert and the Court’s order appointing Dr. Potter (ECF
      Nos. 6604 and 6646) establish Dr. Potter is authorized to perform the following duties: (a)
      monitor data-related issues; (b) advise the Special Master on all mental health data-related
      issues; (c) work with both CDCR and the Plata Receiver’s Quality Management departments on
      mental health data-related issues; and (d) work with Dr. David Leidner with regard to mental
      health data issues. But these categories do not help define the work Dr. Potter is doing to address
  Case 2:90-cv-00520-KJM-SCR            Document 7523-2         Filed 04/07/22     Page 3 of 4
Matthew A. Lopes, Jr.
November 30, 2020
Page 2


specific data integrity issues that need remediation based on the Golding allegations and the steps
needed to allow CDCR to finalize CQIT. And following Dr. Potter’s appointment, the list of
tasks expanded to cover updates to the adequacy of updates to the EHRS, reviewing the data
reports underlying the ASU EOP hub certifications and making recommendations on what must
happen to make them fully transparent and completely usable, and data integration, management,
and integrity. (May 8, 2020 Order, ECF No. 6661.)

        Your June 8, 2020 report on data issues within CDCR (ECF No. 6705) describes Dr.
Potter’s work generally as “continuing to work with CDCR to deliver appropriate access to the
Mental Health Services Business Intelligence (MHS BI) and data warehouse systems,
development environments, and change management systems. He anticipates he will have a
better understanding of how the system computes and delivers several benchmark metrics by the
end of June.” The report then lists Dr. Potter’s expanded work items, many of which go far
beyond the data issues and related remedies following the Golding investigation. That list
includes : (1) attend meetings with CDCR’s leadership regarding the role of the data expert; (2)
meet and discuss the activities of the COVID-19 small workgroup and the need to understand
data and policies with respect to Coleman class members and the general population; (3) meet to
discuss the design and implementation of the business rules and how to best come up to speed on
the data warehouse; (4) review Citrix, the software used by CDCR to access securely its system
remotely, to determine whether it was adequate to review mental health business intelligence,
and identify resources within CDCR to aid review; (5) review CDCR pre-recorded presentations
on understanding mental health business intelligence, key points about mental health on demand
reports, fixed benchmarks, and rehabilitating mental health business intelligence; (6) provide
suggestions to CDCR regarding granular review of COVID-19 data; (7) request information
regarding how the data for measuring COVID-19's impact on the general population and the
Coleman class is being generated, and whether there is a way to pull current and historical data;
(8) review initial COVID-19 risk factor analysis; (9) work with CDCR stakeholders to obtain
access to quality management reports and the live data warehouse; (10) discuss variables related
to COVID-19 Risk Monitoring registries; and (11) discuss best practices, metrics, benchmark
maintenance, and descriptive error. (Id.)

        Judging by the statements on the expanding scope of Dr. Potter’s work to date, he could
theoretically work on data-related issues for the foreseeable future with no end in sight.
Defendants do not believe that the non-comprehensive lists describing his work intend that
outcome. But in the nearly seven months since his appointment, there does not seem to have
been any progress, validation, or recommendations made that would enable CDCR to move
forward with its data and reporting systems that provides confidence or information to CDCR
and other stakeholders. Indeed, on September 3, 2020, the Court ordered that CDCR’s “[f]ull
deployment and durable use of CQIT cannot be completed before full remediation of the
accuracy and reliability of defendants’ data reporting is finished. That process is underway;
currently, the Special Master’s newly hired data expert is obtaining and evaluating relevant data
to assist in guiding the necessary corrective action.” (ECF No. 6846 at 24, fn. 12.) The same
order contemplates a process in which the parties will bring CQIT entirely up to date within six
  Case 2:90-cv-00520-KJM-SCR             Document 7523-2         Filed 04/07/22      Page 4 of 4
Matthew A. Lopes, Jr.
November 30, 2020
Page 3


months – a reasonable timeframe but not one that appears realistic given the pace of Dr. Potter’s
work. (ECF No. 6846 at 25.) In addition to CQIT, Defendants’ ability to move forward with full
implementation of the ASU EOP Treatment Improvement Plan and refinement and full
implementation of EHRS are also tied to Dr. Potter’s work. (Id. at 27 and 28.) Defendants do
not know the status of Dr. Potter’s data review related to these areas, and are not able to
determine the time needed to complete his planned actions. These delays directly impair
CDCR’s ability to monitor its system in a way that is transparent to the parties, and identify and
correct problems related to patient care in a timely manner.

         Defendants appreciate the opportunity that you previously provided to the parties to meet
with Dr. Potter and ask him questions concerning his work. Defendants also appreciate the
amount of time Dr. Potter is spending on his review of data issues, but the time has come to
bring prioritization and focus to that work. Given recent Court orders and information gleaned
from Dr. Potter’s billing statements, Defendants request details on Dr. Potter’s plan to review,
assess, and report on necessary corrective actions for CDCR’s data and quality assurance
programs. Dr. Potter should clarify that his work is tied to the issues raised by the neutral
expert’s findings on the Golding report, the need to establish trust of in CDCR’s data systems,
and whether CDCR’s data systems are accurately assessing compliance with existing CDCR
policy. Defendants request that Dr. Potter list each of his goals, and for each goal the steps he is
taking to address the goal and the timeline for completion of work under the goal. Defendants
require this information so that they may respond to the various pending Court orders and it is
critical to Defendants’ ability to prepare for the December 18, 2020 status conference.

                                              Sincerely,

                                              /s/ Elise Owens Thorn

                                              ELISE OWENS THORN
                                              Deputy Attorney General

                                      For     XAVIER BECERRA
                                              Attorney General

EOT

cc: Coleman Plaintiffs’ Counsel
